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                                                                                                US D C S D N Y
                                                                                                D OC U ME NT
                                                                                                E L E C T R O NI C A L L Y FI L E D
U NI T E D S T A T E S DI S T RI C T C O U R T
                                                                                                D O C #: _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _
S O U T H E R N DI S T RI C T O F N E W Y O R K
                                                                                                D A T E FI L E D: 1 / 1 1 / 2 0 2 1
  ---------------------------------------------------------------- X
                                                                   :
  L E S LI E W A L K E R O N B E H A L F O F P. L. C.,             :
                                                                   :
                                                  Pl ai ntiff,     :                                  1: 2 0 -c v -1 0 3 7 4 -G H W
                                                                   :
                               -a g ai nst -                       :                                            OR DER
                                                                   :
  C O M MI S SI O N E R O F S O CI A L S E C U RI T Y,             :
                                                                   :
                                                  D ef e n d a nt. :
                                                                   :
------------------------------------------------------------------ X
G R E G O R Y H. W O O D S , Distri ct J u d g e:
           T o c o ns er v e r es o ur c es, t o pr o m ot e j u di ci al effi ci e n c y, a n d i n a n eff ort t o a c hi e v e a f ast er

dis p ositi o n of t his m att er, it is h er e b y O R D E R E D t h at t h e p arti es m ust dis c uss w h et h er t h e y ar e

willi n g t o c o ns e nt, u n d er 2 8 U. S. C. § 6 3 6( c), t o c o n d u cti n g all f urt h er pr o c e e di n gs b ef or e t h e

assi g n e d M a gistr at e J u d g e.

           If b ot h p arti es c o ns e nt t o pr o c e e d b ef or e t h e M a gistr at e J u d g e, c o u ns el f or t h e d ef e n d a nt

m ust, wit hi n t w o w e e k s of t h e d at e of t hi s or d er fil e o n E C F a f ull y e x e c ut e d N oti c e, C o ns e nt,

a n d R ef er e n c e of a Ci vil A cti o n t o a M a gistr at e J u d g e f or m, a c o p y of w hi c h is att a c h e d t o t his or d er

( a n d als o a v ail a bl e at htt ps: / / n ys d. us c o urts . g o v /sit es / d ef a ult /fil es / 2 0 1 8-0 6 / A O -3. p df ). T h e

e x e c ut e d f or m s h o ul d b e fil e d o n E C F as a “ Pr o p os e d Or d er, ” a n d b e d es cri b e d usi n g t h e “ C o ns e nt

Or d er ” fili n g e v e nt i n a c c or d a n c e wit h E C F R ul e 1 3.1 8. If t h e C o urt a p pr o v es t h at f or m, all f urt h er

pr o c e e di n g s will t h e n b e c o n d u ct e d b ef or e t h e assi g n e d M a gistr at e J u d g e r at h er t h a n b ef or e m e.

A n y a p p e al w o ul d b e t a k e n dir e ctl y t o t h e U nit e d St at es C o urt of A p p e als f or t h e S e c o n d Cir c uit, as

it w o ul d b e if t h e c o ns e nt f or m w er e n ot si g n e d a n d s o or d er e d.

           If eith er p art y d o es n ot c o ns e nt t o c o n d u cti n g all f urt h er pr o c e e di n gs b ef or e t h e assi g n e d

M a gistr at e J u d g e, t h e p arti es m ust fil e a j oi nt l ett er, wit hi n t w o w e e k s of t h e d at e of t hi s or d er

a d visi n g t h e C o urt t h at t h e p arti es d o n ot c o ns e nt, b ut wit h o ut di s cl o si n g t h e i d e ntit y of t h e
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p art y or p arti e s w h o d o n ot c o n s e nt. T h e p arti es ar e fr e e t o wit h h ol d c o ns e nt wit h o ut n e g ati v e

c o ns e q u e n c es.

            S O O R D E R E D.

 D at e d: J a n u ar y 1 1, 2 0 21                                     _____________________________________
                                                                                 G R E G O R Y H. W O O D S
                                                                                U nit e d St at es Distri ct J u d g e




                                                                    2
                          Case 1:20-cv-10374-GHW-BCM Document 12 Filed 01/12/21 Page 3 of 3
A O 8 5 ( R e v. 0 1/ 0 9) N oti c e, C o ns e nt, a n d R ef er e n c e of a Ci vil A cti o n t o a M a gistr at e J u d g e



                                                         U     NI T E D              ST        ATES              D     I S T RI C T C O U R T
                                                                                                           f or t h e
                                                                                _ _S_o_ut_ _h _er_ n_ _Distri ct ctofofN e_ _w _ _Y _or_ k_ _ _ _
                                                                                                         Distri

                                                                                                                  )
                                               Pl ai ntiff                                                        )
                                                   v.                                                             )         Ci vil A cti o n N o.
                                                                                                                  )
                                             D ef e n d a nt                                                      )



                N O TI C E, C O N S E N T, A N D R E F E R E N C E O F A CI VI L A C TI O N T O A M A GI S T R A T E J U D G E

              N oti c e of a m a gistr at e j u d g e’s a v ail a bilit y . A U nit e d St at es m a gistr at e j u d g e of t his c o urt is a v ail a bl e t o c o n d u ct all
pr o c e e di n gs i n t his ci vil a cti o n (i n cl u di n g a j ur y or n o nj ur y tri a l) a n d t o or d er t h e e ntr y of a fi n al j u d g m e nt. T h e j u d g m e nt m a y
t h e n b e a p p e al e d dir e ctl y t o t h e U nit e d St at es c o urt of a p p e als li k e a n y ot h er j u d g m e nt of t his c o urt. A m a gistr at e j u d g e m a y
e x er cis e t his a ut h orit y o nl y if all p arti es v ol u nt aril y c o ns e nt.


             Y o u m a y c o ns e nt t o h a v e y o ur c as e r ef err e d t o a m a gistr at e j u d g e, or y o u m a y wit h h ol d yo ur c o ns e nt wit h o ut a d v ers e
s u bst a nti v e c o ns e q u e n c es. T h e n a m e of a n y p art y wit h h ol di n g c o ns e nt will n ot b e r e v e al e d t o a n y j u d g e w h o m a y ot h er wis e
b e i n v ol v e d wit h y o ur c as e.


             C o ns e nt t o a m a gistr at e j u d g e’s a ut h orit y. T h e f oll o wi n g p arti es c o ns e nt t o h a v e a U nit e d St at es m a gistr at e j u d g e
c o n d u ct all pr o c e e di n gs i n t his c as e i n cl u di n g tri al, t h e e n tr y of fi n al j u d g m e nt, a n d all p ost-tri al pr o c e e di n gs.


                    P arti es’ pri nt e d n a m es                                                     Si g n at ur es of p arti es or att or n e ys                                                D at es




                                                                                                 R ef e r e n c e O r d e r

             I T I S O R D E R E D: T his c as e is r ef err e d t o a U nit e d St at es m a gistr at e j u d g e t o c o n d u ct all pr o c e e di n gs a n d
or d er t h e e ntr y of a fi n al j u d g m e nt i n a c c or d a n c e wit h 2 8 U. S. C. § 6 3 6( c) a n d F e d. R. Ci v. P. 7 3.



D at e:
                                                                                                                                                    Distri ct J u d g e’s si g n at ur e



                                                                                                                                                      Pri nt e d n a m e a n d titl e

N ot e:        R et ur n t his f or m t o t h e cl er k of c o urt o nl y if y o u ar e c o ns e nti n g t o t h e e x er cis e of j uris di cti o n b y a U nit e d St at es
               m a gistr at e j u d g e. D o n ot r et ur n t his f or m t o a j u d g e.



             Pri
             Pri nt
                 nt
             Print                                      SS aa vv ee As...
                                                        Save        AA s...
                                                                       s...                                                                                                                          R eBseet U n d o n e
                                                                                                                                                                                           C a n N otReset
